
Memorandum. Order unanimously reversed, without costs, and motion denied on condition that plaintiffs attorney pay the sum of $50 to defendant’s attorney within five days of service of a copy of the order hereon; otherwise, order affirmed with $10 costs.
The failure to disclose was not so willful as to justify the drastic remedy of dismissal (Marsh v Lee &amp; Sons, 34 AD2d 985; Askinazy v Jacobson, 40 AD2d 860; Cinelli v Radcliffe, 35 AD2d 829; La Manna Concrete v Friedman, 34 AD2d 576).
Concur: Swartzwald, P. J., Rinaldi and Buschmann, JJ.
